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EXCLUSIVE SALES REPRESENTATIVE AGREEMENT

This EXCLUSIVE SALES REPRESENTATIVE AGREEMENT (the “Agreement”) is entered into
effective as of January 1, 2014 (“Effective Date”) by and between NuVasive, Inc., a Delaware corporation with
principal offices at 7475 Lusk Boulevard, San Diego, California 92121 (“NuVasive”), and Absolute Medical
LLC, a Florida limited liability company with a principal place of business at 213 Villa Di Este Terrace #105,
Lake May, Florida 32746 (“Representative”) (each a “Party” and collectively “the Parties”).

1, DEFINITIONS

Ll “Products” means those products listed in Exhibit A attached hereto, Products subject to this
Agreement may be changed, discontinued or added by NuVasive, at its sole discretion, so long as such change,
discontinuation and/or addition similarly affects, or would otherwise put Representative in line with, the product
offering for other similarly situated sales representatives of NuVasive. Such change, discontinuation and/or
addition shall be effective thirty (30) days after delivery by NuVasive to Representative of a new exhibit A.

1.2 “Territory” means the geographic areas and/or specific institutions listed on Exhibit B hereto,

1,3 “Stated Percentage” shall equal ten percent (10%) of all Incremental Sales (as defined in
Exhibit HD; provided, however that the Stated Percentage shall equal seven percent (7%) of all Incremental
Sales if Representative is in Poor Standing at any time during the most recently completed calendar year,

2, APPOINTMENT AND AUTHORITY OF REPRESENTATIVE

2.1 Exclusive Sales Representative. Subject to the terms and conditions herein, NuVasive hereby
appoints Representative as NuVasive's exclusive sales representative for Products in the Territory, and
Representative hereby accepts such appointment. Representative's sole authority shall be to solicit orders for
Products in the Territory in accordance with the terms of this Agreement.

 

(a) The Territory may be increased or decreased by agreement of the Parties in writing.
NuVasive may, in its sole discretion, decrease the Territory if (i) the Territory is not sufficiently covered by
sufficient representation in accordance with the sales action plan agreed to by the Parties and delivered pursuant
with Section 6.4, (ii) Representative is in violation of Section 6.12, 6,13, 6.14 or 6.15 of this Agreement, (ii)
Representative is in Poor Standing, or (iv) NuVasive pays Representative an amount equal to the then-current
Stated Percentage with respect to the sales generated in the prior calendar year in the portion of the Territory
that is being decreased from Representative, Upon exercise of NuVasive’s rights in Section 2(a)(i)-(iil), all
Compliance Agreements (or similar agreements then in effect) designated by NuVasive (the “Designated
Agreements”) for Representative Affiliates within the decreased Territory shall be automatically and
immediately assigned to NuVasive and all other reasonable steps shall be taken by Representative to ensure that
the services of all Representative Affiliates are continued uninterrupted on behalf of NuVasive, NuVasive shall
pay to Representative the following amounts for the Designated Agreements: $10,000 for each Spine Associate
(or equivalent), $15,000 for cach Spine Specialist (or equivalent), and $25,000 for each Sales Manager (or
equivalent), with NuVasive making the determination as to which category applies.

(b) Further, any time Representative is in Poor Standing, upon payment of the Stated
Percentage for the entire Territory, NuVasive may elect to terminate this Agreement and have all Compliance
Agreements assigned to it (and require that all other reasonable steps be taken by Representative to ensure that
the services of all Representative Affiliates are continued uninterrupted on behalf of NuVasive).
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2.2 Territorial Limitation. Representative shall not, directly or indirectly, (i) advertise or promote
any Products outside the Territory; (ii) solicit or procure any orders for Products from outside the Territory; or
(ili) otherwise act as NuVasive’s representative with respect to the Products outside the Territory, without the
prior written consent of NuVasive, Representative may only submit and procure orders from customers located
and taking delivery of Products within the Territory, Representative shall maintain sufficient representation in
all spine hospitals and clinics in the Territory and shall promptly replace any sales representatives that leave
Representative’s organization while the Agreement is in force, Any accounts or portions of the Territory
without sufficient representation may at NuVasive’s discretion be moved to a non-exclusive status
(notwithstanding Section 2.1) or removed from the Territory under Section 2.1(a),

23 Independent Contractors. The relationship of the Parties established by this Agreement Is that of
independent contractors, and nothing contained in this Agreement shall be construed to (i) give either Party the
power to direct and control the day-to-day activities of the other Party, (ii) constitute the Parties as partners, joint
venturers, co-owners or otherwise as participants in a joint undertaking, or (iii) allow Representative to create or
assume any obligation on behalf of NuVasive for any purpose whatsoever, All financial and other obligations
associated with each Party’s business and its performance of obligations under this Agreement are the sole
responsibility of the respective Party, Each Party shall be solely responsible for, and shall indemnify and hold
the other Party free and harmless from, any and all claims, actions, proceedings, damages, liability, costs and
expense (including reasonable attorneys! fees) arising out of the acts of its employees or ils agents, For the
avoidance of doubt, with respect to its sales representatives, Representative shall be solely responsible for
hiring, promoting, discharging, scheduling appointments, establishing pay scales and/or other remuneration,
remunerating, reimbursing for work-related expenses, implementing discipline and any other action directly
related to the employment of such sales representatives.

2.4 Conflicts of Interest. Representative represents and warrants to NuVasive that it does not (nor
docs any entity or person affiliated with it) currently represent or promote any lines or products that are
competitive with any NuVasive Product, and that it shall not (nor shall any entity or person affiliated with it)
during the Term, directly or indirectly, represent, promote, sell or otherwise commercialize within the Territory
(i) any lines or products that are competitive with any Product covered by this Agreement or (ii) any non-
NuVasive products for use in spine surgery, Further, during the Term, Representative shall not, directly or
indirectly, represent, promote, sell or otherwise commercialize any products (other than the Products) without
the prior written consent of NuVasive, Representative has identified on Exhibit G all products and/or services
for which Representative or its affiliates, directly or indirectly, acts as a sales representative, agent, employee,
etc, Representative agrees that it is a material term of this Agreement that Exhibit G be complete and accurate
at all times, agrees to provide updates as needed to Exhibit G, agrees to appropriately inquire of all its affiliates
and representatives to confirm the accuracy of such information, and agrees that failure to accurately and timely
disclose all required information on Exhibit G will place Representative in Poor Standing hereunder for a
period of at least 1 year from the date on which Exhibit G is properly updated. In addition, Representative
represents that its performance of all the terms of this Agreement and as an agent of NuVasive does not and will
not breach any agreement to keep in confidence proprietary information, knowledge or data acquired by it in
confidence or in trust prior to its engagement by NuVasive, and Representative agrees not to disclose to
NuVasive any confidential or proprictary information or material belonging to any previous employers or other
entities with whom Representative has been involved, Representative represents and warrants that it has not
entered into (and is not bound by) any agreement, either written or oral, that is in conflict herewith or in conflict
with the engagement contemplated hereby, Representative further represents and warrants that it will not,
directly or indirectly, engage in the development of products or intellectual property that are for use in (or
applicable to) spine surgery, aud that Representative has disclosed to NuVasive all relevant details regarding any
such development activity that occurred in the past.

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2,5 Additional Obligations. Representative agrees and warrants that it will cooperate fully with
NuVasive personnel in all respects with regard to performing the obligations of this Agreement, including
participating in requested teleconferences, meetings, and travel, and providing sales target and sales forecasting
information to NuVasive upon reasonable request,

 

3, COMMISSION

3.1 Sole Compensation. Representative's sole compensation under the terms of this Agreement shall
be a commission (“Commission”) based on Net Sales (as defined in Section 3,2 below) of Products resulting
from Representative’s procurement of orders therefore pursuant to this Agreement, in accordance with ihe
schedule set forth in Exhibit C hereto.

3.2 Basis of Commission, The Commission shall apply to all Product orders (i) procured by
Representative from customers within the Territory in accordance with this Agreement; (ii) that have been
accepted by NuVasive; and (iii) for which shipment of Products and recognition of revenue by NuVasive has
occurred. Commissions shall be computed based on “Net Sales” which shall, for purposes of this Agreement, be
defined as the dollar amount actually received by NuVasive from a customer for the sales of the Product(s), less
charges for shipping, handling, freight, taxes, C.O.D. charges, insurance, tariffs and duties, cash and trade
discounts, rebates, charge back payments to managed healthcare organizations, GPO administrative fees,
amounts allowed or credited for returns, uncollected or uncollectable amounts, services, taxes imposed upon the
sale of the Products and the like, The Territory may be subdivided into regions if set forth as such on Exhibit B,
Exhibit C or Exhibit D (as updated from time to time by NuVasive), Separate Quota Commitments may be
designated for each such region,

 

3.3 Time and Manner of Payment. The Commission pursuant to Section 3 on a given order shall be
due and payable thirty (30) days after the end of the calendar month in which NuVasive invoices and ships that
order,

3.4 Commission Charge Back. NuVasive shall have the absolute right to set such cash discounts, to

make such allowances and adjustments, to accept such returns from its customers, and to write off as bad debts
such overdue customer accounts as it deems advisable in its discretion, In each such case, NuVasive shall
charge back to Representative's account any Commission previously paid or credited to it with respect to such
cash discounts, allowances, adjustments, returns or bad debts. Representative also agrees to accept charges for:
(i) pricing arrangements (or side deals) not approved by NuVasive or noncompliance with NuVasive’s policy
against “house accounts” maintained by Representative; (ii) lost, damaged or missing inventory; (tii) failure to
comply with NuVasive’s communicated policies, e.g., inventory management policy and pricing policy as
updated from time to time; and (iv) courier charges for the delivery of Products when NuVasive standard
method of shipping was available.

3,5 Monthly Statements. NuVasive shall submit to Representative monthly statements of the
Commissions due and payable to Representative under the terms of this Agreement, with reference to the
specific invoices on which the Commissions are being paid.

3.6 Potential Bonus Payments, NuVasive may, from time to time and in its sole discretion, pay

bonuses as separately outlined by Sales Administration for the achievement of peak sales performance and as
part of special product roll-outs and initiatives.

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4, SALE OF THE PRODUCTS

41 Prices and Terms of Sale, NuVasive shall provide Representative with copies of its current price
lists, its delivery schedules, and its standard terms and conditions of sale, as established from time to time,
NuVasive’s current terms and conditions of sale are attached hereto as Exhibit E, which may be amended from
time to time in the sole discretion of NuVasive (the “Terms and Conditions”), Representative shall quote to
customers only those authorized prices, delivery schedules, and terms and conditions, and shall have no
authority to quote or offer any discount to such prices or change any such terms and conditions, without the
prior written consent of NuVasive. NuVasive may change the prices, delivery schedules, and terms and
conditions, at any time and from time to time, such changes to be effective thirty (30) days after delivery by
NuVasive to Representative of written notice of any such changes. Each order for a Product shall be governed
by the prices, delivery schedules, and terms and conditions in effect at the time the order is accepted by
NuVasive, and all quotations by Representative shall contain a statement to that effect,

4.2 Orders; Acceptance, All orders for the Products shall be in writing, and the originals shall be
submitted to NuVasive, NuVasive shall promptly furnish to Representative informational copics of all
commissionable orders sent by customers in the Territory. All orders obtained by Representative shall be
subject to acceptance by NuVasive at its sole discretion, Representative shall have no authority to make any
acceptance or delivery commitments to customers, NuVasive agrees that its normal business practice is to
accept all bona fide orders for Products, subject to availability and NuVasive’s credit and ordering policies,

4.3 Collection, It is expressly understood by Representative that full responsibility for all collection
rests with NuVasive, provided, at NuVasive’s request, Representative will assist NuVasive in the collection of
any accounts receivable of NuVasive.

5, WARRANTY

5.1 Customer Warranty, Any warranty for the Products shall run directly from NuVasive to the
customer, and pursuant to the warranty the customer shall return any allegedly defective Products to NuVasive,
Representative shall have no authority to accept any returned Products,

5.2 Warranty Terms. All warranty claims shall be governed by the Terms and Conditions,
6. ADDITIONAL OBLIGATIONS OF REPRESENTATIVE

6.1 Quota Commitment, Representative shall solicit orders that are submitted to NuVasive in
accordance with this Agreement for the quantity of Products set forth in Exhibit D attached hereto (“Quota
Commitment’). The Quota Commitment shall be determined, based on dialogue with Representative, by
NuVasive in its sole discretion and delivered to Representative within thirty (30) days of the end of each
calendar year, or as may be delivered to Representative by NuVasive from time to time (it being understood that
NuVasive intends to deliver a Quota Commitment at intervals more frequently than annually only with respect
to newly introduced products). If Representative (i) fails to secure orders for ninety-five percent (95%) of its
aggregate Quota Commitment in any two consecutive calendar quarters, or (ii) fails to secure orders for ninety-
five percent (95%) of its aggregate Quota Commitment for any given calendar year, then Representative shall be
deemed in “Poor Standing” and NuVasive may, at its discretion and without prejudice to any other rights
NuVasive may have under this Agreement, terminate Representative’s exclusivity granted in Section 2.1 herein
and appoint one or more additional representatives for sale of Products in the Territory, reduce the Territory per
Section 1.2, and/or terminate the Agreement at will per Section 11.3. If Representative is deemed to be in Poor
Standing, Representative will remain in Poor Standing and NuVasive will maintain all rights granted to it as a
result until such time as Representative regains good standing by achieving its Quota Commitment for a full
calendar quarter, Orders fulfilling the Quota Commitment shall be based on bona fide orders submitted to

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NuVasive that would, upon acceptance by NuVasive, qualify for the payment of a Commission to
Representative. The Territory may be subdivided into regions if set forth as such on Exhibit B, Exhibit C or
Exhibit D (as updated from time to time by NuVasive). Separate Quota Commitments may be designated for
each such region.

6,2 Representative Infrastructure and Promotion of the Products. NuVasive and Representative
acknowledge and agree that development of proper infrastructure on the part of Representative is vital for the
suecess of the business, NuVasive will work with Representative to develop and refine expectations for
business investments to be made by Representative for the purpose of expanding its infrastructure (c.g,,
overseeing operations, operational activities, adding personnel with specialized skills, investing in new markets,
computer systems and software, inventory tracking and management, NuVasive compatible mobile phone &
tablet, NuVasive customer relationship management system subscription, etc.) (the “Infrastructure
Investments”). The Infrastructure Investments required by NuVasive will be reasonable in scope and expense
and will be supported with resources from NuVasive. As the Infrastructure Investments are defined and
communicated to Representative from time to time, Representative agrees to comply with the Infrastructure
Investments and agrees that failure to do so shall entitle NuVasive to appropriately redefine the Territory,
terminate Representative’s exclusivity, and/or charge Representative for fines and/or costs. Representative
acknowledges and agrees to maintain sufficient personnel to effectively and consistently promote the sale of the
Products as contemplated by the Agreement, with a focus on selling a complete mix of the various Products.
Representative shall also provide sufficient promotional support to its sales representatives in order to promote
the Products in their assigned territories, Representative agrees not to sell all or any part of the Promotional
Materials of Section 7.2 to any third party without the prior written consent of NuVasive. Representative shall
use the Promotional Materials of Section 7.2 solely to demonstrate and promote the Products to bona fide
customers considering ordering such Products in strict accordance with all the terms of this Agreement and
solely to the extent necessary to fulfill the purposes of this Agreement.

6.3 Territorial Responsibility. Representative shall assign its entire Territory to individual sales
representatives, shall set individual quotas for each representative, and shall communicate all such information
to NuVasive on an ongoing basis.

6.4 Sales Action Plans. Representative shall provide to NuVasive, within thirty (30) days following
the end of each calendar year, a annual sales objectives plan detailing Representative’s sales goals and
execution strategies for the coming year. In addition, Representative shall deliver to NuVasive, by the fifth (5"")
day of each calendar month, a monthly action plan detailing Representative’s sales history, revised sales plans
and strategies. The format of such reporting will be determined by NuVasive.

6.5 Audit, Upon reasonable request by NuVasive, Representative agrees to furnish a full and
detailed statement of NuVasive’s business and in Territory but only to the extent it relates to this Agreement,
including without limitation to matters related to Sections 6.10 and 6,13 herein. NuVasive shall have the right
during normal business hours and upon thirty (30) days prior written notice to audit Representative’s and
Representative Affliate’s records relative to NuVasive’s business (including basic financial information of
Representative) and verify any Representative or Representative Affiliate statement sent to NuVasive.

 

6.6 Demonstration and Staff Training, NuVasive agrees to provide Representative and its personnel
with adequate training regarding the use and operation of the Products, and to also provide its staff and
personnel with regular training regarding any updates to the Products. Representative agrees to attend (and have
its applicable employees and contractors attend within 90 days of date of hire by Representative) training as
requested by NuVasive, Representative agrees (i) that all of its applicable employees and contractors will attend
NuVasive’s sales training course within six (6) months of execution of this Agreement and (ii) to implement a
sales training plan agreed upon by Representative and NuVasive’s sales management that takes full use of
training courses and provides regular and thorough training to entire sales team, Representative also agrees to

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meet NuVasive’s requirements for attendance and participation in NuVasive’s Marquis Visit Program, which
shall include an annual quota for MVPs to be scheduled by Representative. MVP training costs will be cost
shared between NuVasive and Representative, as updated by Surgeon Education policy from time to time.

6,7 Product Complaints. Representative represents and warrants that Representative shall: (i)
promptly investigate and monitor all customer and/or regulatory complaints and/or correspondence concerning
the use of the Products in the Territory; (ii) immediately notify NuVasive of all such complaints and/or
correspondence; (iii) assign to NuVasive all rights (including intellectual property rights), title and interests in
and to any customer feedback with regard to the Products, and (iv) take any and all such actions to ensure such
assignment is effected, upon reasonable request of NuVasive.

6.8 Representations; Marketing. NuVasive shall provide Representative with marketing and
technical information concerning the Products as well as reasonable quantities of brochures, instructional
material, advertising literature, product samples, and other Product data (“Promotional Materials”).
Representative represents and warrants it shall not make any false or misleading representations to customers or
others regarding NuVasive or the Products, or about NuVasive competitors or competitor products.
Representative represents and warrants that it shall not make any representations, warranties or guarantees with
respect to the specifications, features or capabilities of the Products that are not consistent with, or otherwise
expand upon the claims in, the Promotional Materials or other documentation supplied by NuVasive.
Representative represents and warrants that it shall use only the Promotional Materials supplied by NuVasive in
its promotion of the Products, Representative represents and warrants that in no event shall Representative
make any guarantee or warranty concerning the Products that is inconsistent with, or otherwise expands upon,
NuVasive's standard limited warranty or on behalf of any vendor or supplier of NuVasive, Representative
represents and warrants that it shall promote and market the Products in accordance with the training provided
by NuVasive.

6.9 Notice of Changes, Representative shall promptly advise NuVasive of (i) any changes in
Representative’ status, organization, personnel, and similar matters, (if) any changes in the key personnel,
organization, and status of any major customers of NuVasive in the Territory, and (iii) any political, financial,
legislative, industrial or other events in the Territory that could affect the mutual business interests of
Representative and NuVasive, whether harmful or beneficial.

6.10 Compliance with Laws and Policies, Representative represents and warrants that it will comply
with all applicable federal, state, local, municipal, regulatory and/or governmental agency laws, statutes,
regulations, edicts, guidance, directives, and ordinances, including, without limitation, (a) the Social Security
Act; (b) HIPAA, (c) all federal and state health care anti-fraud, anti-kickback and abuse laws such as 42 U.S.C.
§ 1320a-7b(b); (d) the Federal Food, Drug, and Cosmetic Act and its implementing regulations; (e) all rules,
regulations, and guidance of the FDA; and (f) all rules and regulations of the Center for Medicare and Medicaid
Services (CMS). Without limiting the generality of the foregoing, except to the extent allowed by applicable
law, Representative will make no offer, payment or other inducement, whether directly or indirectly, to induce
the referral of business, the purchase, lease or order of any item or service, or the recommending of the
purchase, lease or order of any item or service, Representative will comply, and will ensure its personnel
carrying out activities under this Agreement comply, with all operating and compliance policies of NuVasive,
including, (without limitation) the MDMA Code of Conduct on Interactions with Healthcare Providers,
NuVasive’s Cede of Ethical Business Conduct, NuVasive’s Global Business Ethics Program, including the
Healthcare Compliance Policy Guide, Insider Trading Policy and Inventory Management Policy (relating to
wide variety of inventory management issues, including without limitation inventory investment, accountability
for inventory management (such as cost-sharing) and consignment inventory), as such policies may be created
and updated from time to time, and including any applicable training requirements with respect to such policies.
Additionally, on not less than an annual basis, Representative shall certify to compliance with the Healthcare
Compliance Policy Guide by submitting a Certification of Compliance (in such form as attached hereto as

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Wxhibit F) to NuVasive that Representative is in compliance with this Section 6.10 and any other compliance
terms in this Agreement in a form acceptable to NuVasive. Representative shall provide on a timely basis, to be
determined by NuVasive, all information of Representative and/or its personnel and Representative Affiliate to
comply with the Physician Payments Sunshine Act and/or any similar state law.

6.11 Sales Representatives, NuVasive may elect to interview candidates for sales representative
positions and to approve or disapprove such candidates based upon the hiring profile; provided, however, that
such approval or disapproval does not affect Representative’s authority to making hiring or other employment
decisions. NuVasive shall have the right to approve how such sales representatives are trained and deployed,
Representative shall compensate its sales representatives in its discretion,

6,12 Regulatory Compliance, Representative will not alter or modify the Product(s) in any way prior
to delivery to customers, Representative shall at all times conduct its activities on behalf of NuVasive in
accordance with the labeling limitations on the Products, the terms of this Agreement, NuVasive's written
policies and procedures, and in compliance with applicable state and federal Jaws in effect from time to time,
including the FDA's quality system regulations (QSR), Adverse Event Reporting Systom (AERS) and/or current
good manufacturing practice (¢GMP) regulations and shall undertake all required compliance actions, including
establishing and implementing all required control and reporting procedures, Representative shall provide
NuVasive with such information and data as may be requested by Company pursuant to this Agreement.

 

6,13 Agreement Regarding Competitive Products; Non-Solicitation. During the Term and for a
period of twelve (12) months following the expiration or termination hereof, neither Representative nor any of
Representatives' partners, employees, sub-contractors, sales personnel (whether employees of Ropresentative or
independent contractors), affiliates or agents who have provided services pursuant to this Agreement or have
received information from Representative related to the Products (nor any entity in which Representative has an
ownership interest) (each a “Representative Affiliate”) shall (i) develop, represent, promote or otherwise try to
sell within the Territory any lines or products that, in the Company's reasonable judgment, compete with the
Products covered by this Agreement, (ii) solicit (directly or indirectly) any current or former customers of
NuVasive within the Territory to purchase any products or lines that are, in the Company’s reasonable
judgment, competitive with the Products covered by this Agreement, or (ili) solicit or offer work to, directly or
indirectly, any of NuVasive’s employees, agents or representatives, Representative represents and warrants that
(A) each Representative Affiliate engaged by it as of the date of execution hereof shall execute an agreement in
form and substance sufficient to contractually obligate such person or entity to comply with the restrictions
contained in this Section 6,13(a “Compliance Agreement”), (B) each person or entity who becomes a
Representative Affiliate in the future shall execute a Compliance Agreement prior to performing any services
for the benefit of NuVasive or receiving any information regarding the Products, (C) each Compliance
Agreement will name NuVasive as an intended third party beneficiary with full right to directly enforce
provisions necessary (o comply with this Section 6.13, and (D) it will vigorously enforce the restrictions
contained in this Section 6.13 and each Compliance Agreement at its own cost (and in the event Representative
fails to adequately enforce such restrictions, NuVasive may do so at Representatiye’s cost), Representative shall
provide NuVasive a copy of cach Compliance Agreement with respect to each Representative Affiliate
immediately upon such person or entity becoming a Representative Affiliate, Each Compliance Agreement shall
require all sales representatives to comply with the terms of Sections 6.10 and 6.12 hereof, and each such
Compliance Agreement shall be provided to NuVasive. The eighteen (18) month period during which the
restrictions of this Section are applicable shall toll for any period of time in which Representative is not in
compliance herewith,

NuVasive and Representative acknowledge and agree that the foregoing non-competition covenants are
reasonable and necessary to protect the legitimate interests of NuVasive, including without limitation, the
protection of Confidential Information. Representative further acknowledges and agrees that such covenants are
an essential pact of, and consideration for, NuVasive’s promises contained in this Agreement,

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If any provision of this Agreement is held to be unenforceable, such provision will be distinet and
severable from the other provisions of this Agreement, and such unenforceability will not affect the validity and
enforceability of the remaining provisions, If a court holds that the duration, scope, geographic range, or any
other restriction stated in any provision of this Agreement is unreasonable under circumstances then existing, the
parties agree that the maximum duration, scope, geographic range, or other restriction that the court deems
reasonable under such circumstances will be substituted and that the court will have the power to tevise any of
those restrictions to cover the maximum period, scope, geographic range, and/or other restriction permitted by
law. It is the intent of the parties that the court, in establishing any such substitute restriction, recognize that the
parties’ desire is that the stated restrictions upon which the parties have agreed be honored to the maximum
lawful extent.

6.14 Debarment, Representative represents and warrants that neither it nor any of its personnel
carrying out activities under this Agreement have been nor are debarred, suspended, excluded or are otherwise
ineligible under Section 306 of the Federal Food, Drug and Cosmetic Act (as amended by the Generic Drug
Enforcement Act of 1992), 21 U.S.C. § 336, or are listed on any applicable federal exclusion list including the
then-current: (a) HHS/OIG List of Excluded Individuals/Entities (available through the Internet at
http:/Awww.oig.hhs.gov); (b) General Services Administration's List of Parties Excluded from Federal Programs
(available through the Internet at http://www.epls.gov); and (c) FDA Debarment List (available through the
internet at http://www.fda.gov/ora/compliance_ref/debar/).

6.15 Interaction with Health Care Professionals, Representative represents aud warrants that neither it
nor any of its personnel carrying out activities under this Agreement currently have any form of compensation
arrangement with any Health Care Professional other than an agreement to purchase product. Representative
agrees that neither it nor any of its personnel shall enter into, any arrangement (¢.g,, grants, donations,
sponsorships, reimbursement of expenses, etc.) or agreement, oral or written, with a Health Care Professional,
other than for the purchase of product without the express prior written consent of NuVasive’s Compliance
Officer or his/her designee. A breach of this provision shall be cause for NuVasive to terminate this Agreement
at will,

6,16 Insurance. During the Term, Representative shall maintain in full force and effect the following
insurance coverage of not less than the following amounts: (i) General Liability including Products/Completed
Operations Liability - Two Million Dollars ($2,000,000) aggregate, One Million Dollars ($1,000,000) Bodily
Injury/Property Damage per occurrence, One Million Dollars ($1,000,000) Personal and Advertising Injury, One
Hundred Thousand Dollars ($100,000) Damage to Rented Premises, Ten Thousand Dollars ($10,000) Premises
Medical Payments; (ii) Property Coverage equal to replacement value of property owned along with extra
expense coverage to cover period of time to replace office premises; (iii) Professional Liability: One Million
Dollars ($1,000,000) aggregate and per occurrence; (iv) Automobile Liability for owned, non-owned and hired
autos (as applicable) — One Million Dollars ($1,000,000) per accident; and (v) Workers Compensation sufficient
to meet statutory required benefits of the state in which your employees are domiciled; all from carrier(s)
reasonably acceptable to NuVasive. On an ongoing basis, Representative shall provide NuVasive with one or
more certificates of insurance showing that Representative maintains insurance in accordance with this Section
6.16, Such certificates shal] confirm that NuVasive has been named as an additional insured on Representative’ s
insurance policies by endorsement to such policies and shall provide that there shall be no cancellation or
reduction in coverage without thirty (30) days’ prior written notice to NuVasive,

6.17 Compliance, Representative agrees to maintain all records required to substantiate compliance
with all such laws, regulations, policies, procedures and guidelines and terms of this Agreement for the term of
the Agreement plus an additional six years after its expiration or termination,

6.18 Non-Disparagement. Representative shall not in any way disparage NuVasive, its products, or
its agents or employees, including, without limitation, taking any action or making any statement the intent or
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reasonably foreseeable effect of which is to impugn or injure the reputation or goodwill of NuVasive or any of
its agents or employees.

6,19 Representations and Warranties.
(a) Corporate Power, Representative is duly organized and validly existing under the laws

of its state of incorporation (as set forth on the first page of this Agreement) and has full corporate power and
authority to enter into this Agreement and to carry out the provisions hereof.

(b) Duc Authorization, Representative is duly authorized to execute and deliver this
Agreement and to perform its obligations hereunder, The person executing this Agreement on Representative’s
behalf has been duly authorized to do so by all requisite corporate action.

(c) Binding Agreement, This Agreement is a legal and valid obligation binding upon the
Parties and enforceable in accordance with its terms. The execution, delivery and performance of this
Agreement by the Parties does not conflict with any agreement, instrament or understanding, oral or written, to
which it is a party or by which it may be bound, nor violate any material law or regulation of any court,
governmental body or administrative or other agency having jurisdiction over it.

7, ADDITIONAL OBLIGATIONS OF NUVASTVEI,

7d Training by  NuVasive, NuVasive shall provide sales and compliance training to
Representalive's personnel at periodic intervals, with the frequency and content of the training fo be determined
by NuVasive. When possible, such training shall be given at Representative's facilities, but it may be necessary
to provide combined training at a geographically central location near but not in the Territory, Travel and
expenses associated with attendance by Representative and Representative’s personnel shall be borne by
Representative. Representative shall sign all certifications confirming its training as may be requested by
NuVasive.

Fe Promotional Materials. NuVasive may charge Representative for such materials. Representative
shall not add, delete, or modify any language in the Promotions Materials in any manner, except for adding
Representative contact information, Under no circumstances shall Representative use any other promotional
material or literature regarding the Products without the prior written consent of NuVasive.

 

73 Telephone Marketing and Technical Support. NuVasive shall provide a reasonable level of
technical support in English to personnel of Representative who have been trained by NuVasive during its
normal business hours to answer Representative's questions related to the Products, NuVasive will also provide
assistance to Representative regarding sales administration, hiring, and implementation of sales plans,

8. INDEMNITY

Subject to all of the Conditions set forth in this Section 8, NuVasive shall defend, indemnify and hold
harmless Representative and its employees and agents, from and against any and all causes of action, claims.
suits, proceedings, damages and judgments by third parties (collectively, “Claims”), to the extent that such
Claims are based primarily on an alleged manufacturing or design defect in a Product sold by Representative. In
the event that any Claim is asserted against Representative, Representative shall provide written notice to
NuVasive within (10) days after learning of such Claim, NuVasive will have the right to select counsel, and
conduct and control at its expense the defense against and settlement of such Claim in its own name, or if
necessary in Representative's name and NuVasive's defense counsel may act on Representative’s behalf
regardless of whether such Claim has also been asserted against NuVasive, Representative will cooperate with
and make available to NuVasive such assistance and information as may be reasonably requested by NuVasive,

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and Representative will have the right to participate in the defense, including representation by independent
counsel, at Representative's expense, provided that under such circumstances Representative will have the right
to compromise and settle the Claim only with the prior written consent of NuVasive. Lf, in connection with any
Claim it is determined by NuVasive that Representative acted beyond its authority, or failed to comply with any
of its material obligations under this Agreement, NuVasive shall be immediately relieved of its obligations to
Representative under this Section 8,

9, TRADEMARKS

9.1 Use. NuVasive hereby grants to Representative the non-exclusive, non-transferable, limited
right and license for the Term to indicate to the public that it is an authorized representative of the Products and
to advertise (within the Territory) such Products under the trademarks, service marks, logos, and trade names
that NuVasive may adopt from time to time (“Trademarks”), Representative shall not alter or remove any
Trademark applied to the Products, Except as set forth in this Section 9, nothing contained in this Agreement
shall grant to Representative any right, title or interest in the Trademarks, At no time during or after the Term
shall Representative challenge or assist others to challenge NuVasive’s ownership of its Trademarks or attempt
or assist others to attempt to register any trademarks, marks or trade names confusingly similar to those of
NuVasive, Should NuVasive notify Representative that the uso of any Trademarks violates the then in effect
Trademark guidelines (“Trademark Guidelines”) established by NuVasive, Representative shall bring such use
into conformance with the Trademark Guidelines and shall provide to NuVasive a specimen of such conforming
use. Notwithstanding the foregoing, NuVasive, at its discretion, may terminate this trademark license when it
determines that Representative is using the Trademarks in a manner that violates NuVasive’s then in effect
Trademark Guidelines. Promptly following termination or expiration of this Agreement for any reason,
Representative shall take all actions necessary to transfer and assign to NuVasive all rights, title and interest in
and to the Trademarks and goodwill related thereto which Representative may have acquired as a result of this
Agreement and shall promptly discontinue all uses of the ‘Trademarks, Representative shall cooperate with
NuVasive, at NuVasive’s expense, to register the Trademarks in any jurisdiction, including executing
appropriate documents and otherwise assisting NuVasive,

9.2 Approval of Representations. All representations of the Trademarks that Representative intends
to use (including without limitation in any catalogue or other marketing collateral) shall first be submitted to
NuVasive for written approval (which shall not be unreasonably withheld) of design, color, and other details.
Representative may not mark the Products or Product packaging materials with its own trademarks, service
marks, trade names, or logos or those of any third party (“Other Marks”) without the prior written consent of
NuVasive, [fany of NuVasive’s Trademarks are to be used in conjunction with Other Marks on or in relation to
the Products, then the Trademarks shall be presented equally legibly, equally prominently, and of greater size
than the other but nevertheless separated from the Other Marks so that the Trademarks and the Other Marks
each appears to be a mark in its own right, distinct from one another,

10, CONFIDENTIALITY

10.1 Confidential Information. “Confidential Information” means the proprietary or confidential
information of NuVasive which is disclosed to Representative, whether before or after the Effective Date, and
(a) if disclosed in writing, is either marked as confidential or is known, understood or reasonably expected to be
confidential at the time of disclosure, or (b) if disclosed orally or in other intangible form, is either identified and
treated as confidential at time of disclosure, or is known, understood or reasonably expected to be confidential at
the time of disclosure, or is, without limiting the foregoing, identified in writing and marked confidential within
thirty (30) days after disclosure and relates to products, plans, designs, costs, prices, finances, marketing plans,
business opportunities, personnel, research, development, know-how, trade secrets, inventions, blueprints,
techniques, processes, algorithms, software programs, schematics, designs, contracts, customer lists, procedures,
formulae, patent applications and other information relating to NuVasive’s business, services, processes or

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technology. Confidential Information shall also include the terms of this Agreement. Confidential Information
shall not include information that Representative proves: (i) was known by Representative or was publicly
available prior to disclosure by NuVasive to Representative; (ii) became publicly available after disclosure by
NuVasive to Representative through no act of Representative; (iii) is hereafter rightfully furnished to
Representative by a third party without confidentiality restriction; or (iv) is disclosed with the prior written
consent of NuVasive or as expressly authorized under this Agreement.

10,2 Non-Disclosure, Parties shall not, except as otherwise expressly provided herein, use, disclose,
disseminate or otherwise allow access to the Confidential Information of the other Party to anyone other than to
employees that have a need to know such Confidential Information to implement this Agreement and who are
bound by written confidentiality obligations with provisions no less stringent than those contained in this
Section 10. Each Party shall prevent unauthorized disclosure or use of the Confidential Information of the other
Party, Parties shall execute all documents and otherwise shall take all necessary steps to ensure that each bo
able to enforce rights hereunder pertaining to Confidential Information, Parties shall be responsible for any
breach of this Section 10.2 by employees, contractors or agents.

10.3 Ownership. Representative acknowledges and agrees that NuVasive (or its licensors) owns all
rights, title and interests, including intellectual property rights, in and to NuVasiye’s Confidential Information,

10,4 Notification. If Representative learns or believes that any person who has had access to the
Confidential Information of NuVasive has violated or intends to violate this Agreement, Representative shall
immediately notify NuVasive and shall cooperate with NuVasive in seeking injunctive or other equitable relief
against any such person,

 

10.5 Exceptions. Representative may disclose the Confidential Information of NuVasive, only if such
disclosure is required by law, provided that Representative promptly notifies NuVasive to allow intervention by
NuVasive (prior to the disclosure), cooperates with NuVasive to contest or minimize the disclosure (including
application for a protective order) at NuVasive's expense and limits such disclosure to the party entitled to
receive the Confidential Information and to the scope of the legal requirement. Notwithstanding the foregoing,
any Confidential Information disclosed pursuant to this Section 10.5 shall otherwise continue to be treated as
Confidential Information hereunder, Notwithstanding anything to the contrary, Representative must obtain the
consent of NuVasive prior to disclosure of this Agreement to any third party.

10.6 Reproduction of Confidential Information, Confidential Information shall not be reproduced
except as required to implement this Agreement. Any reproduction or derivative of any Confidential
Information of NuVasive by Representative shall remain the property of NuVasive and shall contain all
confidential or proprietary notices or legends which appear on the original,

10.7 Equitable Remedies. Any unauthorized disclosure or use of Confidential Information by Parties
shall be a material breach of this Agreement, and Parties shall be entitled to all remedies available under law or
in equity, including without limitation injunctive relief without the need to post a bond therefor,

1]. TERM AND TERMINATION

Ll. Term, This Agreement shall take effect on the Effective Date and continue in force for a term
beginning on the Effective Date and ending on December 31, 2016 (“Term”), unless sooner terminated under
the provisions of this Section 11. NuVasive shall have the option to renew the Agreement for successive one
year terms following termination. Representative understands and agrees that following termination for any
reason, Representative will be responsible for returning any outstanding inventory items and will be held
responsible for missing items.

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112 Termination for Cause, (i) If either party defaults in the performance of any provision of this
Agreement, then the non-defaulting party may give written notice to the defaulting party that if the default is not
cured within thirty (30) days the Agreement (except for breaches of Sections 2.2, 2.4, 6.13, 6.15, 9, 10 or 12.3,
in which caso such termination shall be immediate upon notice) will be terminated, Such thirty (30) day notice
period shall not be required if the breach by its nature cannot by its nature be cured within thirty (30) days,

 

11.3 Termination At Will. NuVasive shall have the right to terminate this Agreement at will if
Representative is deemed to be in “Poor Standing” per Section 6.1, NuVasive shall also have (i) the right to
terminate this Agreement at will if Representative breaches a material term of this Agreement at any time, and

(ii) the termination right described in Sections 6.15 and 11.6(a).

11.4 Termination for Insolvency, This Agreement may be terminated by either Party without notice
(i) due to insolvency, receivership or bankruptcy proceedings or any other proceedings for the settlement of the
other Party, (ii) upon either Party malcing an assignment for the benefit of creditors, or (ili) upon either Party’s
dissolution or ceasing to do business.

Lis Effect of Termination,

(a) Accrued Obligations, Termination shall not relieve either party of obligations incurred
prior to the effective date of such termination.

(b) Return of Materials. All trademarks, trade names, patents, copyrights, designs,
drawings, formulas or other data, photographs, samples, literature, sales aids of every kind and NuVasive
Confidential Information shall remain the property of NuVasive. Within ten (10) days after the termination of
this Agreement, Representative shall prepare all such items in its possession for shipment, as NuVasive may
direct, at NuVasive's reasonable expense, Representative shall not make, use, dispose of or retain any copies or
derivatives of any NuVasive Confidential Information in any form. Effective upon the termination of this
Agreement, Representative shall cease to use all Trademarks, Representative shall comply with all requests
from NuVasive regarding the return of inventory, Products, samples, ete,

(c) Additional Commissions, In addition to any commissions already earned by
Representative but not yet paid by NuVasive under the terms of Section 3 above, NuVasive shall pay
commissions to Representative on all orders from the Territory that were accepted by NuVasive within thirty
(30) days after the date of termination of this Agreement and for which NuVasive receives payment within sixty
(60) days after the date of termination of this Agreement.

(d) If NuVasive should terminate this Agreement due to a material breach by
Representative of any of their obligations under Sections 2.2, 2.4, 6,13, 6.15, 9, 10 or 12.3 of this Agreement,
then in addition to any other legal or equitable remedies available to NuVasive, NuVasive shall have the right in
its sole discretion and for no additional consideration to Representative: to direct Representative to immediately
assign to NuVasive all Compliance Agreements or similar agreements described in Section 6.13 above; and to
solicit, contract with, or hire any sales representatives of Representative,

11.6 Change of Control,

(a) In the event that NuVasive undergoes a merger, acquisition, consolidation, a sale of all
or substantially all of NuVasive’s assets, or a majority in voting power of NuVasive’s then-outstanding voting
securities are acquired by a third party (each a “Change of Control’), NuVasive and/or the successor in interest
or acquiring party (the “Acquiring Party”) shall have the right to terminate this Agreement at any time up to
twelve (12) months after such event (the “Termination Right”).

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(b) Representative shall be entitled to a payment of the Stated Percentage promptly
following the closing of the Change of Control and the termination of this Agreement pursuant to exercise by
NuVasive or the Acquiring Party of the Termination Right (the “Change of Control Payment”).

(c) Notwithstanding Section |1.6(b), the Change of Control Payment shall only be required
if Representative: (i) has been engaged as a Representative and actively selling the Products for at least one (1)
year prior to the Change of Control and (il) is not in breach of a material provision of this Agreement (including,
but not limited to, Section 6,13),

11.7 Additional Provisions Regarding Change of Control, In the event the Change of Control
Payment is made, all Compliance Agreements (or similar agreements then in effect) shall be immediately
assigned to NuVasive or the Acquiring Party (at NuVasive’s discretion) and all other reasonable steps (not to
include significant cash payments by Representative) shall be taken by Representative to ensure that the services
of all Representative Affiliates are continued uninterrupted on behalf of the Acquiring Party or NuVasive (as
appropriate).

 

11.8 Survival. The provisions of Section 5, Section 6,13, Section 8, Section 9 (cxcopt for the grant of
rights and licenses by NuVasive), and Sections 10-12 shall survive the expiration or termination of this
Agreement for any reason, All other rights and obligations of the parties shall cease upon termination of this
Agreement.

12, MISCELLANEOUS

 

12.1 Governing Law and Jurisdiction,
(a) This Agreement is entered into in and shall be governed, construed and enforced in
all respects solely and exclusively under the laws of the state in which Representative resides while performing

services under this Agreement without giving effect to any law which would result in the application of a
different body of law, Any decision rendered by such court shall be binding, final and conclusive upon the
parties, and a judgment thereon may be entered in, and enforced by, any court having jurisdiction over the party
against which an award is entered or the location of such party’s assets, Each party shall be entitled to seck
injunctive or other equitable relief, wherever such party deems appropriate in any jurisdiction, in order to
preserve or enforce such party’s rights for any breach or threatened breach of the other party of Articles 6, 9, 10
and 12.5, Each party agrees that: such Sections are necessary and reasonable to protect the other party and its
business, any violation of these provisions could cause irreparable injury to the other party for which money
damages would be inadequate, and as a result, the other party will be entitled to seek and obtain injunctive relief
against the breach or threatened breach of the provisions of such Sections without the necessity of posting bond
or proving actual damages.

(b) In the event of any dispute or claim relating to or arising out of the terms of this
Agreement or its interpretation, each of the parties agree that all such disputes shall be fully and finally resolved
by binding arbitration conducted before a single neutral arbitrator from AAA in County of San Diego, State of
California, USA, pursuant to the then current employment arbitration rules (rules can be accessed at
www.adr.com). The arbitrator shall permit adequate discovery. In addition, the arbitrator is empowered to award
all remedies otherwise available in a court of competent jurisdiction. Any Judgment rendered by the arbitrator
may be entered by any court of competent jurisdiction, The arbitrator shall issue an award in writing and state
the essential findings and conclusions on which the award is based. By executing this Agreement, the parties are
both waiving the right to a jury trial with respect ta any such disputes. In all other jurisdictions the parties shall
split the costs of the arbitrator, forum and filings fees equally, Each party shall bear its own respective attorneys’
fees and all other costs, unless otherwise provided by law and awarded by the arbitrator. This arbitration section
does not include claims that, by law, may not be subject to mandatory arbitration, In addition, this arbitration

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section does not prevent either party from seeking temporary injunctive relief, as permitted by applicable state
law, through either AAA or an appropriate court of competent jurisdiction.

12.2 Notices, Any notice required or permitted by this Agreement shall be in writing and shall be sent
by prepaid registered or certified mail, return receipt requested, addressed to the other party at the address
shown below or such other address for which such party gives notice hereunder, Such notice shall be deemed to
have been given three (3) days after deposit in the mail.

To NuVasive: NuYVasive, Inc,
7475 Lusk Boulevard
San Diego, California 92121
Attention: Legal Department

To Representative: Absolute Medical LLC
213 Villa Di Este Terrace #105
Lako Mary, Florida 32746
Attention: Grog Soufloris

12.3 Assignment. Representative may assign or transfer this Agreement or any of its rights and
obligations under this Agreement only upon the prior written consent of NuVasive, which shall not be
unreasonably denied,

12.4 Property Rights. Representative agree that NuVasive owns all right, title, and interest in the
product lines that include the Products and in all of NuVasive's patents, trademarks, trade names, inventions,
copyrights, know-how, and trade secrets relating to the design, manufacture, operation or service of the
Products. The use by Representative of any of these property rights is authorized only for the purposes herein
set forth, and upon termination or expiration of this Agreement such authorization shall cease.

12,3 Indemnification,

(a) Representative shall indemnify, defend and hold harmless NuVasive and its directors,
officers, employees and agents from any loss, cost, liability or expense, including attorneys! fees, that NuVasive
incurs or becomes liable for arising out of any breach by Representative of any of ifs representations, warranties
and covenants contained herein and any acts or omissions of Representative or its employees and agents relating
to the performance of this Agreement.

(b) NuVasive shall indemnify, defend and hold harmless Representative and its directors,
officers, employees and agents from any loss, cost, liability or expense, including attorneys' fees, that
Representative incurs or becomes liable for arising out of any breach by NuVasive of any of its representations,
warranties and covenants contained herein and any acts or omissions of NuVasive or its employees and agents
relating to the performance of this Agreement.

12.6 Severability, If any provision(s) of this Agreement shall be held invalid, illegal or unenforceable
by a court of competent jurisdiction, the remainder of the Agreement shall be valid and enforceable and the
parties shall negotiate in good faith a substitute, valid and enforceable provision which most nearly effects the
parties’ intent in entering into this Agreement.

12,7 Modification: Waiver, This Agreement may not be altered, amended or modified in any way
except in a writing signed by both parties. The failure of a party to enforce any provision of the Agreement shall
not be construed to be a waiver of the right of such party to thereafter enforce that provision or any other
provision or right.

 

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12.8 Entire Agreement. This Agreement and the exhibits hereto represent and constitute the sole,
final and entire agreement between the parties, and supersedes and merges all prior negotiations, agreements and
understandings, oral or written, with respect to the matters covered by this Agreement, including (without
limitation) the prior Exclusive Sales Representative Agreement exeouted by the Parties,

12.9 Counterparts. This Agreement may be executed in two or more counterparts, each of which shall
be deemed an original and all of which together shall constitute one instrument, The parties agree that a
facsimile may be executed as an original.

12,30 Advice of Counsel. Each of the parties to this Agreement represent that they have had the
opportunity to seek the advice of counsel with respect to the negotiation and execution of this Agreement,
Representative further represents that it has executed this Agreement of its own free will and is not relying on
counsel for NuVasive with respect to any partion of this Agreement.

12,11 Headings. The headings used in this agreement are for convenience of reference only and shall
not affect the construction of or be taken into consideration in interpreting this agrocoment,

12,12 No Implied Licenses, Except as explicitly set forth herein, Representative is not granted any
explicit or implied licenses in this Agreement.

 

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This AGREEMENT is entered into and binding upon the Parties as of the Effective Date:

NUVASIVE, INC, ABSOLUTIE MEDICAL LLC

 

By: By: -
Matt Link, Executive Vice President, US Sales Greg Soufleris, Authorized Officer

[Signature Page to Exclusive Sales Representative Agreement]
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EXHIBIT A
PRODUCTS

This Exhibit is incorporated by reference into and made a part of the Exclusive Sales Representative Agreement
(the “Agreement”) between the Company and Representative (as defined in the Agreement). Any capitalized
terms not defined in this Exhibit shall have the meaning set forth in the Agreement, Should a conflict arise
between this Exhibit and the Agreement, the provisions of this Exhibit shall control.

Products: All NuVasive Products
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EXHIBIT B
TERRITORY

This Exhibit is incorporated by reference into and made a part of the Exclusive Sales Representative Agreement
(the “Agreement”) between the Company and Representative (as defined in the Agreement). Any capitalized
terms not defined in this Exhibit shall have the meaning set forth in the Agreement. Should a conflict arise
between this Exhibit and the Agreement, the provisions of this Exhibit shal! control.

Territory:

The following counties in the State of Wloridn:

Flagler

Volusia

Lake (with the exception of Clermont ambulatory Surgical Center)
Seminole

Palm Beach (with the exception of the following hospital; Lake Worth Surgical Center)
Brevard

Osceola

Orange

Highlands

Indian River

Martin

St. Lucie

The following hospitals in Broward County, Florida: Advanced Orthopedics
The following hospital in Miami-Dade County, Florida; The Gable Surgical Center

The following hospital in Pollc County, Florida: Heart of Florida Regional Medical Center, Davenport, FL

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EXHIBIT C
COMMISSIONS

This Exhibit is incorporated by reference into and made a part of the Exclusive Sales Representative Agreement
(the “Agreement”) between the Company and Representative (as defined in the Agreement), Any capitalized
terms not defined in this Exhibit shall have the meaning set forth in the Agreement, Should a conflict arise
between this Exhibit and the Agreement, the provisions of this Exhibit shall control.

New
Commission
Rates

 

Monthly Commission Rate
O+/Allograft
All other Products

 

 

OTR Mix Rate (from $1 in Mix Buckets
Over OTA Only

Mix - 5/5

_ Mix - 4/5
Mix - 3/5
Mix - 2/5
Mix - 1/5

 

 

 

 

Quarterly Bonus paid on Dollars in ’xcess
of Quota

 

 

 

 

 

 

 

 

 

NuVasive reserves the right to introduce new products with different commission structures,

Commissions to be paid are determined by applying the appropriate commission rate to Net Sales as described
in Section 3.2. The appropriate commission rate to be applied is determined by “Total Sales” which is defined
as the dollar amount actually received by NuVasive from a customer for the sales of the Product(s), less
discounts, rebates, and amounts allowed or credited for returns.

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EXHIBIT D
2014 QUOTA COMMITMENT
This Exhibit is incorporated by reference into and made a part of the Exclusive Sales Representative Agreement
(the “Agreement”) between the Company and Representative (as defined in the Agreement). Any capitalized

terms not defined in this Exhibit shall have the meaning set forth in the Agreement. Should a conflict arise
between this Exhibit and the Agreement, the provisions of this Exhibit shall control,

2014 Quotas will be determined in accordance with Section 6.1

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EXHIBIT E

TERMS AND CONDITIONS OF SALE

(see attached]

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‘TERMS AND CONDITIONS OF SALE

These terme and conditions govern the sale of all produets (“Products”) by NuVasive®, Inc. (“Seller”) to (he party issuing an order for Products hereunder
(“Bayer”) and npply notwithstaudiag any conflicting, contrary or ndditlonal terms and conditions ta any purchase order or other document or
cammunicntian, ‘These terms and conditions constitute the sole, final ond entire agreement between Seller and Buyer and supersede oll other agreements
between them regarding the subject matter hereof, These (erms and conditions may only be waived or morlifled Ina written agreement signed by an
authorized representative of Seller, Neither Seller's yelmowledgement of a purchase order nov Seller's failure to object to confletlig, contrary or
additional terms and conditions ina purehase order shall be deemetl an acceptance of such terms and cond|tlons or a walver of the provisions hereof,

1, Orders and Acceptance, Orders sholl be initinted by Buyer Issulng a purchase order to Seller. Orders shall Identify the Products, unit quantities,
(leseripttons, applicable prices and requested delivery dates, All orders are subject to neceptanee by Seller, Accepted orders may not he cancelled except
upon Seller's written approval, which may, a( Seller's diserction, be subject to Buyer's payment of Seller's reasonable cancellation charges, ORDERS
SHALL BR BINDING ONLY UPON BUYER, AND SITALL CEASE TO DE BINDING ONLY Uf AND WHEN EXPRESSLY REJECTED BY SELLER,
ONLY ACCEPTED ORDERS SHALL BE BINDING UPON BOTIL SULLER AND BUYER. All prices for Produets, including for the use of Loaned
Products (defined below), shall be in accordance with Seller's list priclug, unless modified In a written agreement signed by an outhorized representative of
Seller,

2, Tarms and Mothod of Payment. Payments shall be dua upon recaipt of invoice and shall be mada solely ih U.S. dollars In Immedialely available funds. If payment is not
received by Seler wilhln (hirty (30) calendar days folowing the dale of Invoice, the unpaid balanc wil accrua interest fiom the dale due unl the dale pald al a rata of one and one
half percent (1.5%) per month, or the maximum rate allowed under applicable law, whichover Is less, Win Ure Judgment of Seller the financial condition of Buyer, al any Ume, does not
justiy continvanco of production or shipment on tha larms of payment specified, Seller may require full or partial payment ol any complated deivery prior to delivery of any subsequent
orders.

3. Title and Oelivary.
(A) Products shall be dolivered FCA (Incolerms 2000) polal of shipment. Tile and isk af loss or damage In the Products shall pass to Buyer upon Seller's londer of the Products lo a

cartier for shipment. II loss or damage occurs during shipment, Buyer shall nol be releved of lls obligation to pay cos!s of Insurance, Wansporlalion, import dulles, lexes or any aller
exponsas incurred for licenses or clearances required at port of entry and destinalion. A security Interest In the Products shall ba relalned by Seller unt recelpt of payrnent (In full from
Buyer. Seler shall use commercialy reasonable offorls lo meet Buyer's requosted delivery schedule.

(B) Sefer agrees lo provide Buyer with loaned Ins lruments and products (‘Loaned Products") for use by Buyer wilh the Products, Sefer is and shall bo at all imes lhe solo owner of
the Loaned Products, Buyer has no right lo soll, transfer, assign, plecge cr otherwice encumber tha Loanad Producls withoul prior wrillen approval by Seller, Buyer shall bear all
ticks of loss or damage lo the Loaned Products (and all associaled costs or expenses) [rom any caute from (ho date of dellvery lo Buyer until relumed lo Seller, unless such loss or
damage resuils from tha negligence of Seler.

4, Warranty and Remedies.
(A) Sellar warrants thal: (1) each Product or Loaned Product shall conform to ils publishad specifications upen shipment to Buyer, and (2) for a period of ana (1) year from the date of

delivery, the software Included In any Product will materially conform to Seller's then-current documentation for such software and Lhe media contalning such software (bul nol tho
software Ilsel/) ls free from physical defects (the "Limited Warranty’).

(8) EXCEPT FOR THE EXPRESS LIMITED WARRANTY IN SECTION 4(A), TO THE MAXIMUM EXTENT ALLOWASLE UNDER APPLICABLE LAW, SELLER DISCLAIMS ALL
WARRANTIES, WHETHER EXPRESSED OR IMPLIED, STATUTORY OR OTHERWISE (INCLUDING ANY WARRANTY OF MERCHANTABILITY, NON-INFRINGEMENT, OR
FITNESS FOR A PARTICULAR PURPOSE) IN CONNECTION WITH ANY PRODUCT OR LOANED PRODUCT. Seler assumes no liability for faulty or improper application or use
of any Produc! or Loaned Product or impropor usa of any Product of Loaned Product In combination with any olher products,

(C) With respect lo Products or Loened Products whlch do nol conform lo thelr published specifications, Seller wil repalr or, al ils option, replace any non-conforming Products or
Loaned Products and return lhe repalred or replacemen| Products or Loaned Products to Buyer wilhout charge, All Products relumed under warranty must be accompanied by a
vaitten explanation of the non-conformance, SUCH REPAIR OR REPLACEMENT 18 BUYER'S ONLY REMEDY AND SELLER'S ONLY LIABILITY AND OBLIGATION FOR BREACH
OF WARRANTY HEREUNDER,

(BD) NOTWITHSTANDING ANYTHING ELSE HEREIN, SELLER WiLL NOT BE LIABLE HEREUNDER OR OTHERWISE IN CONNECTION WITH ANY PRODUCT OR LOANED
PRODUCTS, UNDER ANY LEGAL OR EQUITABLE THEORY, WHETHER IN CONTRACT, TORT OR OTHERWISE (INCLUDING NEGLIGENCE OR STRICT LIABILITY): (I) FOR
ANY AMOUNT EXCEEDING THE AMOUNT PAID BY BUYER TO SELLER FOR THE ORDER GIVING RISE TO SUGH LIABILITY; (Il) FOR ANY PUNITIVE, SPECIAL,
INCIDENTAL, INDIRECT OR CONSEQUENTIAL DAMAGES, OR (Ii ANY LOSS OF DATA, LOST PROFITS, LOST OPPORTUNITY OR LOST REVENUE, WHETHER
CHARACTERIZED AS DIRECT DAMAGES OR OTHERWISE,

§. Taxes. Seller's prices are exclusive of all laxes. Responslolfly for ell cusloms duties, charges, sales lax, velue-edded lax, and any alher taxes Imposed by any laxing aulhorty on
the sala or use of any of lhe Products or Loaned Products (excluding any taxes solely on Seller's Income) shall be bome solely by Buyer. If Buyer ts tax-exempt, Buyor shall, prior to
purchase, fumlsh Seller with any cecuments nocossary lo demonstrate its lax-exempl slalus. Providing such documentation, however, does nol releve Buyar of Ils obligations lo pay
taxes In thls Section 5, If appticable.

 

6. Compliance with Law. Suyerrepresonts, warrants and covenants thal, al all (mes, Buyer's use, distibulion, sala, marketing, advertising, Import and expoit of all Products and
Loaned Products wil comply wilh all applicable laws, rules, regulations end Industry standards of tho Uniled Glales and of any olher ppplicabla jurisdlolon, anll-kickback laws,
physidan referral laws, Including the U.S. Forelgn Corrupt Practices Act and all applicable exporl laws, restrictions, and reguiatons of the United Slates or any applicable foretgn
government, agency or authority, Buyor vill not oxport or re-axporl, or authorlzo the exporl or re-export of any Product or Loaned Produel, technology or Informalion it obtains or
learns from Sefer (cr any direct product thereof} In violalion of any such laws, resbiclions or regulalons, Buyer shall obtain and bear all expenses relating to any necessary Icenses
andlor exemptions with respect lo lhe exporl from the USA of the Products or Loaned Products, or tha import of tha Products or Loaned Products to any location in compliance wilh all
appicab’a laws and regulalions,

7. Intellectual Property Ownership. Buyer acknowledges thal lhe Products and Loaned Products Incoiporate lechnelogy thal are subject to Seller's Inlellectual Property Righls, and
thal such lechnology Is nol sold to Buyer and Is only Heonsed lo Buyar for usa ecloly as Incorporated and/or embedded Into the Product or Loaned Product. Olher than tha feregolng
tlconsa, Seller of lis leensors chal] retain all Intellectual Property Rights and Intorests In and (a or underlying lhe Products or Loaned Products and nothing hereln shall be construed to
grant Buyer a fcense of any kind lo any Intelleclual Properly Rights of Soller, To tha maximum extent allowabla under applicable faw, Guyer agreos lhal it shall net, diecly er
Indiraclly through any third parly, reverse anglncer, decomplia, duplicate or translate any Product or Loaned Product or sack lo reveal the trade sacral or know how underlying any
Product or Loaned Product. ‘Intellectual Proporty* or “Intalloctual Proparly Rights’ as used hereln collectively means any and all palents, copyrights, lademarks, lade secrets,
mask works, moral iights, know-how or eny other proprlelary righ!, and any applications for the foregoing, under tho laws of lhe Uniled Slates, any olher Jurisdicllon, tha European
Union, or any olher bl-laleral or mulll-lateral treaty regima,

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8, Relumn/Upgrade Policy. EXCEPT WITH RESPECT TO BIOLOGIC PRODUCTS, Buyer shal bo able lo rolurn any unused Products for (ull credil within sixty (G0) days of deltvery,
provided, however, thal Buyer will ba charged a 30% restocking fee (or all unused Products relumed aller ten (10) days of delivary; provided further, that all retums Includa a Returns
Malorial Authorization (RMA) number, which can ba oblalned from NuVastve cuslomor cornice, Buyor will nol ba ab‘o lo relum any Products aflor clxty (60) days of delivery, Any
Instrumentation Product purchased by Guyer from Seller may be upgraded for a newer model developed by Seller (if such model was nol avaPable al lie lime of purchase) wilhln
three (3) years of the dafvery date or the orginal Instrumentation Produal In accordance valh the following: (2) for tha frst year altar lhe delivery dale, Buyer shall recetve 100% crodil
of the orginal purchase price lo be applied loward tho purchase, al Sallar's Ist prlco, of tho upgraded Inslrmantallon; (b) for tyo cocond year after tie delivery dalo, Buyor shal
tecelve 50% credit of the original purchase piice lo be applied loward the purchaso, al Seller's Est price, of tho upgrade Instrumentation; and (c) for the third year after tho detvary
dale, Buyer shell racoive 25% credil of lhe original purchase prica to be applied loward the purchase, al Se'ler’s list price, of lhe upgraded Instrumentation,

9, Software Malntenance/Updatos. For a period of one (1) year {rom the dale ol delivery of 8 Product containing soltware, Seller will provide Buyer vith software updatos and
support services. Supporl services consis! of the following: (a) lechalcal support by lelephons twenty-four (24) hours a day, year-round, al Seller's support Png al 1-077-348-5511
from tha Uniled States and at 1-855-909-1800 inlemalonaly; and (b) f Buyer reports a software problem lo Sefer, and Seller confirms thal tha problam oxists in Seller's Producl,
Seller wil use Its bast efforts to pramplly correct of supply a work-around for the error If It substantially degrades the performance of tha Product, and to correct olhar significant errors
In fulure sollware re'eases.

10. Discounts and Rebates, Suyer shall disclose any discounts oy other reductions ln price received under thls Agreement as required under Section 1120B(b)(3)(A) of the Soclal
Security Act [42 U.S.C, 1320a-7b(b)(3)(A)] to any slala or fedoral program which provides cost or chargo-based reimbursement to Buyer for the Praducts purchased undor this
Agreement

11. Miscellaneous. Failure by Seller lo Insist upon performance of any tern or condition sel forth herein shall nol be consiued as a waver cf such lerms and conditions and shal
nol affect tha right of Selfer thereefler fo enforca each and every larm and condillon, Thase lerms and conditions and all dispulos arising oul of or related lo theso terms and
condilons shall be solely and exciusively construed and govemed in accordance wilh the laws of the Slale of Celifornia, USA, vilhout application of any law that would resull in the
appicalion of a different body of law. The UN Convention on Conlacts for the International Sale of Goods is hereby expressly excluded and shall nal apply to thess larms and
condilions. Any and all suils hereunder shall be brought and resolved solely and exclusively in, and the portlos hereby lirevocably consent to tho oxclusivo Jurisdiction and proper
verwve of, (ho slale and federal courts located in tho Gounty of San Dlego, Stale of Galfornla, USA, and walve any objections therelo based on any ground Including Improper venue
of Forum Non-Convenlens, These lerms and condillons shall be blading upon and Inufe to tha benefit of the partis, and (helr suceassors, and permilled assigns, If ona er more
provisions in (hese (ens and condilions are led entirely or parily Invalld or unenforceable by any court or governmental authority of competent jurisdiction, Ihnen tha remalning
portions hereof shall remaln valid and the parties shall reform the proviston(s) to Lhe minimum extent necessary to render them valld and enforceable In conformity with (he perties’
Intent as manifested hereln. Any rights lo accruad payments and Sactions 2, 4(B), 4(D), 5, 6,7, and 11 shall survive tha explration of thesa terms and conditions.

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NY NUVASIVE!

==Speed of Innovatlon®
EXHIBIT F
CERTIFICATION
REPRESENTATION REGARDING REVENUE RECOGNITION POLICY,

CUSTOMER AGREEMENTS, AND THE NUVASIVE HEALTHCARE
COMPLIANCE POLICY GUIDE OF NUVASIVE, INC,

AS OF

 

The undersigned certifies to Alexis V. Lukinnov, Chairman & Chief Executive Officer af NuVasive, Inc., and Michael
Lambert, Executive Vice President & Chief Financial Officer of NuVasive, Inc., as follows:

* | understand that my relationship with NuVasive, Inc. (“NuVastve") obligates me to comply with NuVasive’s Standard Terms
and Conditions of Sale, as well as to inform management of any known deviation from the Standard Terms and Conditions of
Sale,

* | have read and understand that the Standard Terms and Conditions of Sale include the following:
o Payments shall be due within 30 days upon receipt of invoice,
0 Title passes to the customer upon shipment of the product from NuVasive facilities.
o Product return/upgrade rights are limited to the following circumstances:
* — Any product, with the exception of blologics, may be returned for full credit ifreturned within 60 days.
These returns are subject to 1 30% restocking fee,
* Biologic products have no retum privileges.
*» — Return rights are not valid after 60 days,
* — Instrumentation is upgradeable to a newer model ifsuch madel was not available at the time of original
purchase, per the following timeframes:
« Within first year of delivery datc, 100% credit towards list price of the upgrade instrumentation,
« Within second year of delivery date, 50% credit towards list price of the upgrade Instrumentation.
« Within third year of deliver date, 25% credit towards list price of the upgrade instramentation.
o For product contalning software, software maintenance/updates will be avallable for one year from delivery date,
o All discounts and or rebates have been communicated to the Sales Administration Department,

» [further certify the following (indicate by cheelemark only the follawing that apply):

o ____Tothe best of my knowledge, 1) all arrangements with customers (‘‘Cuslomer Agreements") comply with the
Standard Terms and Conditions of Sale as outlined above, 2) any deviations from the Standard Terms and Conditions
of Sale have been communicated ta management and reflected in Customer Agreements, and 3) [ am not a party to,
nor am J aware of, any arrangements regarding the sale of NuVasive products other than in (he normal course of
business and pursuant to NuVasive’s normal avenues for product sale, Examples of such arrangements would
include: (1) side businesses that act as additional distributors or brokers for product sales, (2) businesses (hat Include
owners or operators (hal are healthcare providers or shareowners (or distributor personnel) of NuVasive, and (3)
arrangements for the purchase and further resale of NuVasive products, etc.

» JT HAVE NOT made (nor um I aware of} any side agreements, written or verbal, that deviate from
agreed payment terms of the Standard Terms and Conditions of Sale, Customer Agreements or Revenue
Recognition Policy, which would allow for (1) extension of payment terms beyond 90 days, (2) change in
tisk or tile passage based on modified shipping terms, (3) an obligation of NuVasive to bill and hold any
product except as it relates (o the Osteocel product Ine, (4) terms implying that multiple deliverables must
occur before title changes, or (5) stock rotation rights or the right to return (o NuVasive product or capital
assets previously recorded as a sale to a customer.

< OR >

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" 1] HAVE made side agreement(s), written or verbal, that deviate(s) from the Standard Terms and
Conditions of Sale and allow for one or more of the Issues noted above (If this statement is checked,
plense altach a summary of the non-standard terms and/or a copy of the agreement, as applicable),

o — HAVE read and understand the NuVasive Healthcare Compliance Policy Guide (“Guide”). [understand that
my relationship with NuVasive obligates me to comply with the Guide in its entirely, as well as lo inform
NuVasive's Compliance Officer, or his designee, of any know instances of non-compliance wilh the Guide,

o __IHAVE complied with, will continue to comply with, and will continue to ensure that all personnel reporting to
me comply with, all compliance policies of NuVasive, including the MDMA Code of Conduct an Interactions with
Healthcare Providers, NuVasive's Code of Ethical Business Conduct, the Guide, as such policies may be created and
updated from time to lime, and including any applicable training requirements with respect to such policies.

o __! HAVE NOT made and will make no offer, payment or other inducement, whether directly or indirectly, to

induce the referral of business, the purchase, lease or order of any item or service, or the recommending of the
purchase, lease or order of any item or service,

Printed Name and Title: Signed: a
Date:

Please email to certificatlons@nuvasive.com or fax to 858-736-0469

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NUVASIVE?

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EXHIBIT G

OTHER PRODUCTS/SERVICES
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EXHIBIT H

DEFINITION OF INCREMENTAL SALES

“Incremental Sales” shall mean all sales generated by Representative pursuant to this Agreement (and in the
Territory) during the most recently-completed calendar year, less $10,658,914,

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